






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00024-CV






James Allred; Wholearth Organic Composting, L.L.C.; Target Brush and Grinding,
L.L.C.; JOH Investments, Ltd.; and JOH Associates, L.L.C., Appellants


v.


Howard Hale, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-06-000106, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


	

		The parties have filed Appellants' and Appellee's Joint Motion to Dismiss Appeal. 
We grant their motion and, in accordance with the parties' agreement, vacate the trial court judgment
without regard to its merit and render judgment that the plaintiff take nothing.  See Tex. R. App.
P.&nbsp;42.1(a)(2)(A).



						                                                                                    

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Waldrop and Henson

Vacated and Rendered

Filed:   May 19, 2010


